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                                 UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


    STATE OF CALIFORNIA BY AND                         Case No. 19-cv-02552-VC
    THROUGH ATTORNEY GENERAL
    XAVIER BECERRA, et al.,
                                                       ORDER GRANTING AS MODIFIED
                   Plaintiffs,                         STIPULATION REGARDING
                                                       BRIEFING SCHEDULE
            v.
                                                       Re: Dkt. No. 82
    ALEX M. AZAR, et al.,
                   Defendants.

        The parties’ stipulation is granted as modified:

•    September 27, 2019: Defendants shall file their combined motion to dismiss the complaints

     of Plaintiffs and Plaintiff-Intervenors in one brief not to exceed thirty (30) pages.

•    October 11, 2019: Defendants shall serve the complete administrative record on Plaintiffs

     and Plaintiff-Intervenors.

•    November 15, 2019: Plaintiffs and Plaintiff-Intervenors shall each file their opposition to

     Defendants’ motion to dismiss and their motions for summary judgment with respect to their

     APA claims. Each of the two briefs is not to exceed twenty (20) pages, and Plaintiffs and

     Plaintiff-Intervenors should coordinate to avoid unnecessary repetition.

•    November 15, 2019: Plaintiffs and Plaintiff-Intervenors shall amend their complaints to add

     additional parties or claims on or before this date.

•    November 22, 2019: Amicus briefs in support of Plaintiffs and Plaintiff-Intervenors, if any,

     shall be filed, and are not to exceed fifteen (15) pages per brief.

•    December 20, 2019: Defendants shall file their cross-motion for summary judgment, reply in
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    support of Defendants’ motion to dismiss, and combined opposition to the Plaintiffs and

    Plaintiff-Intervenors’ motions for summary judgment in a brief not to exceed twenty-five

    (25) pages.

•   January 2, 2020: Amicus briefs in support of Defendants, if any, shall be filed (see Order

    Regarding Motions to Intervene, Dkt. 72), and are not to exceed fifteen (15) pages per brief.

•   January 23, 2020: Plaintiffs and Plaintiff-Intervenors shall each file their combined replies in

    support of their cross motions for summary judgment and responses to Defendants’ cross-

    motion for summary judgment. Each of the two briefs is not to exceed fifteen (15) pages, and

    Plaintiffs and Plaintiff-Intervenors should coordinate to avoid unnecessary repetition.

•   February 12, 2020, 10:00 a.m.: Hearing before the Court on Defendants’ motion to dismiss

    and the parties’ cross motions for summary judgment. The hearing will take place in San

    Francisco, 17th Floor, Courtroom 4.

       IT IS SO ORDERED.

Dated: September 3, 2019
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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